Case 1:20-cr-20266-PCH Document 101 Entered on FLSD Docket 05/13/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 1:20-cr-20266-HUCK/BECERRA


  UNITED STATES OF AMERICA,


  v.

  MANUEL CARLOS HERNANDEZ,

        Defendant.
  _____________________________________/

       ORDER ADOPTING AND AFFIRMING R&R AND ADJUDICATING DEFENDANT
                                 GUILTY

         THIS MATTER came before the Court upon Magistrate Judge Jacqueline Becerra’s

  Report and Recommendation (“R&R”) on Plea of Guilty [ECF No. 97], which was entered on

  May 7, 2021. In the R&R, Judge Becerra found that the Defendant Manuel Carlos Hernandez

  freely and voluntarily entered a plea of guilty as to Counts I and VII of the Indictment. Count I

  charges Defendant with conspiracy to commit money laundering in violation of Title 18 U.S.C. §

  1956(a)(3)(B). Count VII charges Defendant with conspiracy to distribute, in violation of Title 21

  U.S.C. §§ 846, 841(a)(1), (b)(1)(B)(ii).

         Magistrate Judge Becerra recommends that this Court accept Defendant’s guilty plea, that

  Defendant be adjudicated guilty of Counts I and VII, and that a sentencing hearing be conducted

  for final disposition of this matter. The Court has reviewed Judge Becerra’s R&R, no objections

  have been filed, and the Court has been advised that no objections will be filed. Therefore, based

  on a de novo review of the evidence presented, it is hereby

         ORDERED AND ADJUDGED that (1) Magistrate Judge Becerra’s R&R on Plea of

  Guilty is ADOPTED and AFFIRMED in its entirety; (2) the Court accepts Defendant’s plea of
Case 1:20-cr-20266-PCH Document 101 Entered on FLSD Docket 05/13/2021 Page 2 of 2




  guilty, and Defendant is hereby adjudged guilty as to Counts I and VII of the Indictment; (3) a

  sentencing hearing before the Honorable Paul C. Huck is set for Wednesday, July 21, 2021 at

  2:30 PM; and (4) the jury trial previously set for May 24, 2021 and the calendar call previously

  set for May 19, 2021 [ECF No. 62] are now cancelled.

         DONE AND ORDERED in Miami, Florida on May 12, 2021.




                                                     PAUL C. HUCK
                                                     UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Jacqueline Becerra
  Counsel of record
